24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 1 of 21




                                    Exhibit B

                                       AIA
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 2 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 3 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 4 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 5 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 6 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 7 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 8 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 9 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 10 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 11 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 12 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 13 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 14 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 15 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 16 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 17 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 18 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 19 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 20 of 21
24-11463-pb   Doc 71-2    Filed 02/04/25 Entered 02/04/25 16:17:01   Exhibit B AIA
                         Construction Contract Pg 21 of 21
